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12   Attorneys for Plaintiffs,
     ILLUMINA, INC. AND
13   ILLUMINA CAMBRIDGE LTD.

14                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
15                               SAN FRANCISCO DIVISION

16

17   ILLUMINA, INC. and                    Case No. 3:19-cv-03770-WHO (TSH)
     ILLUMINA CAMBRIDGE LTD.,              Case No. 3:20-cv-01465-WHO (TSH)
18
                      Plaintiffs,          PLAINTIFFS’ REVISED PROPOSED
19                                         VERDICT FORM
          v.
20
     BGI GENOMICS CO., LTD.,
21   BGI AMERICAS CORP.,
     MGI TECH CO., LTD.,
22   MGI AMERICAS, INC., and
     COMPLETE GENOMICS INC.,
23
                      Defendants.
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     PLAINTIFFS’ PROPOSED VERDICT FORM                    CASE NO. 3:19-CV-03770-WHO
                                                          CASE NO. 3:20-CV-01465-WHO
 1
     COMPLETE GENOMICS INC.,
 2
                      Counterclaim-Plaintiff,
 3
          v.
 4
     ILLUMINA, INC. and ILLUMINA
 5   CAMBRIDGE LTD.,

 6                    Counterclaim-Defendants.

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     PLAINTIFFS’ PROPOSED VERDICT FORM           2   CASE NO. 3:19-CV-03770-WHO
                                                     CASE NO. 3:20-CV-01465-WHO
 1           When answering the following questions and filling out this Verdict Form, please follow the

 2   directions provided throughout the form. Your answer to each question must be unanimous. Some of

 3   the questions contain legal terms that are defined and explained in detail in the Jury Instructions. Please

 4   refer to the Jury Instructions if you are unsure about the meaning or usage of any legal term that appears

 5   in the questions below.

 6           As used herein:

 7              1. “Plaintiff” or “Illumina” refers to Illumina, Inc. and Illumina Cambridge Ltd.

 8              2. “Defendant” or “Defendants” refers to BGI Genomics Co. Ltd., BGI Americas Corp.,

 9                  MGI Tech Co., Ltd., MGI Americas, Inc., and Complete Genomics, Inc.

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11           We, the jury, unanimously agree to the answers to the following questions and return them under

12   the instructions of this court as our verdict in this case.

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     PLAINTIFFS’ PROPOSED VERDICT FORM                       1                CASE NO. 3:19-CV-03770-WHO
                                                                              CASE NO. 3:20-CV-01465-WHO
 1                                      FINDINGS ON INFRINGEMENT
                                                                                                                   Formatted: 2021 BODY24, Left, Space After: 0 pt, Line
 2           (Instruction Nos. _____)                                                                              spacing: single

 3           The questions regarding infringement should be answered regardless of your findings with
 4   respect to the validity or invalidity of the patent.
 5           It is undisputed that the Defendants directly infringed the Asserted Claims of each of the
 6   Asserted Patents in this case.1
 7          A.        U.S. Patent No. 7,541,444 (the “’444 Patent”)
 8   1.     Has Illumina proven that it is more likely than not that Defendants directly infringed any
            of the following claims of the ’444 Patent?
 9
            This question has been completed for you so as to reflect the Court’s earlier finding that
10
            Defendants directly infringed the claims below.
11
12                                                Yes (Illumina)         No (Defendants)
13
                 a.       Claim 3                           
14

15   2.1.   Has Illumina proven that it is more likely than not that Defendants induced the
            infringement of any of the following claims of the ’444 Patent?
16
            For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).
17

18
                                                  Yes (Illumina)         No (Defendants)
19
                 a.       Claim 3
20

21   3.2.   Has Illumina proven that it is more likely than not that Defendants contributed to the
            infringement of any of the following claims of the ’444 Patent?
22
            For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).
23

24
                                                  Yes (Illumina)         No (Defendants)
25
                 a.       Claim 3
26
     1
27      [Illumina has proposed two alternative methods by which to indicate to the jury that direct
     infringement by BGI is undisputed in this case. This instruction is the first alternative. The second
28   alternative is to include a question on direct infringement for each patent that is pre-filled with a check
     mark in the “Yes” column to indicate that direct infringement is has been established and is undisputed.
     See Questions 1, 4, 7, 10, 13.]
     PLAINTIFFS’ PROPOSED VERDICT FORM                      2                 CASE NO. 3:19-CV-03770-WHO
                                                                              CASE NO. 3:20-CV-01465-WHO
 1          B.        U.S. Patent No. 7,771,973 (the “’973 Patent”)
 2   4.     Has Illumina proven that it is more likely than not that Defendants directly infringed any
            of the following claims of the ’973 Patent?
 3
            This question has been completed for you so as to reflect the Court’s earlier finding that
 4          Defendants directly infringed the claims below.
 5

 6                                              Yes (Illumina)        No (Defendants)
 7
                 a.       Claim 13                    
 8

 9   5.3.   Has Illumina proven that it is more likely than not that Defendants induced the
            infringement of any of the following claims of the ’973 Patent?
10

11          For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).

12
                                                Yes (Illumina)        No (Defendants)
13

14               a.       Claim 13

15
     6.4.   Has Illumina proven that it is more likely than not that Defendants contributed to the
16          infringement of any of the following claims of the ’973 Patent?

17          For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).

18

19                                              Yes (Illumina)        No (Defendants)

20               a.       Claim 13
21
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     PLAINTIFFS’ PROPOSED VERDICT FORM                    3               CASE NO. 3:19-CV-03770-WHO
                                                                          CASE NO. 3:20-CV-01465-WHO
 1          C.        U.S. Patent No. 7,566,537 (the “’537 Patent”)
 2   7.     Has Illumina proven that it is more likely than not that Defendants directly infringed any
            of the following claims of the ’537 Patent?
 3
            This question has been completed for you so as to reflect the Court’s earlier finding that
 4          Defendants directly infringed the claims below.
 5
                                               Yes (Illumina)         No (Defendants)
 6
                 a.       Claim 1                    
 7
 8               b.       Claim 4                    

 9
                 c.       Claim 6                    
10
     8.5.   Has Illumina proven that it is more likely than not that Defendants induced the
11          infringement of any of the following claims of the ’537 Patent?
12          For each asserted claim, please check “Yes” (for Illumina) or “No” (for Defendants).
13
                                               Yes (Illumina)         No (Defendants)
14

15               a.       Claim 1

16               b.       Claim 4
17
                 c.       Claim 6
18

19
     9.6.   Has Illumina proven that it is more likely than not that Defendants contributed to the
20          infringement of any of the following claims of the ’537 Patent?
21          For each asserted claim, please check “Yes” (for Illumina) or “No” (for Defendants).
22
                                               Yes (Illumina)         No (Defendants)
23

24               a.       Claim 1

25               b.       Claim 4
26
                 c.       Claim 6
27

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     PLAINTIFFS’ PROPOSED VERDICT FORM                   4               CASE NO. 3:19-CV-03770-WHO
                                                                         CASE NO. 3:20-CV-01465-WHO
 1         D.        U.S. Patent No. 9,410,200 (the “’200 Patent”)
 2   10.   Has Illumina proven that it is more likely than not that Defendants directly infringed any
           of the following claims of the ’200 Patent?
 3
           This question has been completed for you so as to reflect the Court’s earlier finding that
 4         Defendants directly infringed the claims below.
 5

 6                                             Yes (Illumina)        No (Defendants)
 7
                a.       Claim 11                    
 8
                b.       Claim 19                    
 9

10

11   11.7. Has Illumina proven that it is more likely than not that Defendants induced the
           infringement of any of the following claims of the ’200 Patent?
12
           For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).
13

14
                                               Yes (Illumina)        No (Defendants)
15
                a.       Claim 11
16

17              b.       Claim 19

18

19
     12.8. Has Illumina proven that it is more likely than not that Defendants contributed to the
20         infringement of any of the following claims of the ’200 Patent?

21         For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).

22

23                                             Yes (Illumina)        No (Defendants)

24              a.       Claim 11
25
                b.       Claim 19
26

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     PLAINTIFFS’ PROPOSED VERDICT FORM                   5               CASE NO. 3:19-CV-03770-WHO
                                                                         CASE NO. 3:20-CV-01465-WHO
 1         E.        U.S. Patent No. 10,480,025 (the “’025 Patent”)
 2   13.   Has Illumina proven that it is more likely than not that Defendants directly infringed any
           of the following claims of the ’025 Patent?
 3
           This question has been completed for you so as to reflect the Court’s earlier finding that
 4         Defendants directly infringed the claims below.
 5

 6                                              Yes (Illumina)         No (Defendants)
 7
                a.         Claim 1                    
 8
                b.         Claim 9                    
 9

10              c.         Claim 27                   

11              d.         Claim 31                   
12
                e.         Claim 33                   
13
                f.         Claim 34                   
14

15              g.         Claim 42                   

16              h.         Claim 47                   
17
                i.         Claim 50                   
18

19
     14.9. Has Illumina proven that it is more likely than not that Defendants induced the
20         infringement of any of the following claims of the ’025 Patent?

21         For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).

22

23                                              Yes (Illumina)         No (Defendants)

24              a.         Claim 1
25
                b.         Claim 9
26
                c.         Claim 27
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28              d.         Claim 31


     PLAINTIFFS’ PROPOSED VERDICT FORM                  6                CASE NO. 3:19-CV-03770-WHO
                                                                         CASE NO. 3:20-CV-01465-WHO
 1
                                               Yes (Illumina)          No (Defendants)
 2
               e.       Claim 33
 3

 4             f.       Claim 34

 5             g.       Claim 42
 6
               h.       Claim 47
 7
               i.       Claim 50
 8

 9   15.10. Has Illumina proven that it is more likely than not that Defendants contributed to the
            infringement of any of the following claims of the ’025 Patent?
10
           For each of the claims below, please check “Yes” (for Illumina) or “No” (for Defendants).
11
12
                                               Yes (Illumina)          No (Defendants)
13

14             a.       Claim 1

15             b.       Claim 9
16
               c.       Claim 27
17
               d.       Claim 31
18

19             e.       Claim 33

20             f.       Claim 34
21
               g.       Claim 42
22
               h.       Claim 47
23

24             i.       Claim 50

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     PLAINTIFFS’ PROPOSED VERDICT FORM                 7                 CASE NO. 3:19-CV-03770-WHO
                                                                         CASE NO. 3:20-CV-01465-WHO
 1                                       FINDINGS ON INVALIDITY
                                                                                                            Formatted: 2021 BODY24, Left, Space After: 0 pt, Line
 2          (Instruction Nos. ________)                                                                     spacing: single

 3          The questions regarding validity or invalidity should be answered regardless of your findings
 4   with respect to the infringement of the patent.
 5          A.        The ’444 Patent
 6   16.11. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’444 Patent are invalid as obvious?
 7
            For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
 8

 9                                            Yes (Defendants)        No (Illumina)
10
                 a.       Claim 3
11
12
            B.        The ’973 Patent
13
     17.12. Have Defendants proven by clear and convincing evidence that any of the following claims
14          of the ’973 Patent are invalid as obvious?

15          For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).

16                                            Yes (Defendants)        No (Illumina)
17
                 a.       Claim 13
18

19
     18.13. Have Defendants proven by clear and convincing evidence that any of the following claims
20          of the ’973 Patent are invalid for failure to satisfy the written description requirement?

21          For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).

22                                            Yes (Defendants)        No (Illumina)
23
                 a.       Claim 13
24

25   19.14. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’973 Patent are invalid for failure to satisfy the enablement requirement?
26
            For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
27

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     PLAINTIFFS’ PROPOSED VERDICT FORM                  8                CASE NO. 3:19-CV-03770-WHO
                                                                         CASE NO. 3:20-CV-01465-WHO
 1
                                           Yes (Defendants)          No (Illumina)
 2
                a.       Claim 13
 3

 4         C.        The ’537 Patent

 5   20.15. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’537 Patent are invalid as obvious?
 6
           For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
 7
 8                                         Yes (Defendants)         No (Illumina)

 9              a.      Claim 1
10
                b.      Claim 4
11
                c.      Claim 6
12

13   21.16. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’537 Patent are invalid for failure to satisfy the written description requirement?
14
           For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
15

16                                         Yes (Defendants)         No (Illumina)

17              a.      Claim 1
18
                b.      Claim 4
19
                c.      Claim 6
20

21
     22.17. Have Defendants proven by clear and convincing evidence that any of the following claims
22          of the ’537 Patent are invalid for failure to satisfy the enablement requirement?
23         For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
24
                                           Yes (Defendants)         No (Illumina)
25
                a.      Claim 1
26

27              b.      Claim 4
28
                c.      Claim 6

     PLAINTIFFS’ PROPOSED VERDICT FORM                 9                CASE NO. 3:19-CV-03770-WHO
                                                                        CASE NO. 3:20-CV-01465-WHO
 1

 2         D.        The ’200 Patent

 3   23.18. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’200 Patent are invalid as obvious?
 4
           For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
 5

 6                                         Yes (Defendants)          No (Illumina)

 7              a.       Claim 11
 8
                b.       Claim 19
 9

10   24.19. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’200 Patent are invalid for failure to satisfy the written description requirement?
11
           For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
12
                                           Yes (Defendants)          No (Illumina)
13

14              a.       Claim 11

15              b.       Claim 19
16
     25.20. Have Defendants proven by clear and convincing evidence that any of the following claims
17          of the ’200 Patent are invalid for failure to satisfy the enablement requirement?
18         For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
19
                                           Yes (Defendants)          No (Illumina)
20
                a.       Claim 11
21
22              b.       Claim 19

23
           E.        The ’025 Patent
24
     26.21. Have Defendants proven by clear and convincing evidence that any of the following claims
25          of the ’025 Patent are invalid as obvious?

26         For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).

27                                           Yes (Defendants)         No (Illumina)
28
                a.        Claim 1

     PLAINTIFFS’ PROPOSED VERDICT FORM                10                CASE NO. 3:19-CV-03770-WHO
                                                                        CASE NO. 3:20-CV-01465-WHO
 1
                                             Yes (Defendants)         No (Illumina)
 2
               b.        Claim 9
 3

 4             c.        Claim 27

 5             d.        Claim 31
 6
               e.        Claim 33
 7
               f.        Claim 34
 8

 9             g.        Claim 42

10             h.        Claim 47
11
               i.        Claim 50
12

13   27.22. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’025 Patent are invalid for failure to satisfy the written description requirement?
14
           For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
15
                                             Yes (Defendants)         No (Illumina)
16

17             a.        Claim 1
18
               b.        Claim 9
19
               c.        Claim 27
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21             d.        Claim 31

22             e.        Claim 33
23
               f.        Claim 34
24
               g.        Claim 42
25

26             h.        Claim 47

27             i.        Claim 50
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     PLAINTIFFS’ PROPOSED VERDICT FORM                11                CASE NO. 3:19-CV-03770-WHO
                                                                        CASE NO. 3:20-CV-01465-WHO
 1   28.23. Have Defendants proven by clear and convincing evidence that any of the following claims
            of the ’025 Patent are invalid for failure to satisfy the enablement requirement?
 2
           For each asserted claim, please check “Yes” (for Defendants) or “No” (for Illumina).
 3

 4                                           Yes (Defendants)         No (Illumina)

 5             a.       Claim 1
 6
               b.       Claim 9
 7
               c.       Claim 27
 8

 9             d.       Claim 31

10             e.       Claim 33
11
               f.       Claim 34
12
               g.       Claim 42
13

14             h.       Claim 47

15             i.       Claim 50
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     PLAINTIFFS’ PROPOSED VERDICT FORM                12                CASE NO. 3:19-CV-03770-WHO
                                                                        CASE NO. 3:20-CV-01465-WHO
 1                                       FINDINGS ON DAMAGES

 2                                                                                                              Formatted: 2021 BODY24, Left, Space After: 0 pt, Line
            (Instruction Nos. _________)                                                                        spacing: single
 3   Directions: If you answered “No” as to invalidity for at least one of the asserted claims, please answer
     questions 29 and 30 below. Otherwise, skip to the last page and sign the verdict form.
 4
     Damages
 5
     29.24. What sum of money, if any, would fairly and reasonably compensate Illumina for
 6          Defendants’ past infringement? Please see the jury instructions on damages.:
 7
     Answer in dollars.
 8
            $
 9

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11   Willful Infringement
12   30.25. Has Illumina proven that it is more likely than not that Defendants’ infringement was
            willful? Please see the jury instructions on willful infringement.
13
            “Yes” is a finding that Defendants have willfully infringed. “No” is a finding that Defendants
14
            has not willfully infringed.
15

16          Yes                     No
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     PLAINTIFFS’ PROPOSED VERDICT FORM                   13                 CASE NO. 3:19-CV-03770-WHO
                                                                            CASE NO. 3:20-CV-01465-WHO
 1   You have now reached the end of the verdict form and should review it to ensure it accurately reflects
     your unanimous determinations. The Presiding Juror should then sign and date the verdict form in the
 2   spaces below and notify the Courtroom Deputy that you have reached a verdict. The Presiding Juror
 3   should retain possession of the verdict form and bring it when the jury is brought back into the
     courtroom.
 4
     Date:                                           By:
 5                                                                 Presiding Juror
 6

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     PLAINTIFFS’ PROPOSED VERDICT FORM                  14                 CASE NO. 3:19-CV-03770-WHO
                                                                           CASE NO. 3:20-CV-01465-WHO
 1   Date: October 25, 2021                    /s/ Edward R. Reines
 2   EDWARD R. REINES (Bar No. 135960)
                                              DEREK C. WALTER (Bar No. 246322)
 3                                            ROBERT S. MAGEE (Bar No. 271443)
                                              NATE NGEREBARA (Bar No. 317373)
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 5                                            Redwood Shores, CA 94065
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 8                                            robert.magee@weil.com
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24                                            ILLUMINA, INC. AND ILLUMINA
                                              CAMBRIDGE LTD.
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     PLAINTIFFS’ PROPOSED VERDICT FORM        15               CASE NO. 3:19-CV-03770-WHO
                                                               CASE NO. 3:20-CV-01465-WHO
